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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 MARTINSBURG


 UNITED STATES OF AMERICA,
           Plaintiff,

 v.                                                           Criminal No. 3:21MJ138-1


 JONATHAN TOEBBE,
          Defendant.



                       MOTION TO CONTINUE DETENTION HEARING

       Comes now Defendant, Jonathan Toebbe, by and through counsel, Nicholas J. Compton,

Assistant Federal Public Defender, and files this motion to continue the detention hearing in this

case currently set for October 15, 2021. In support, Mr. Toebbe offers the following:

       1.      On October 8, 2021, FBI Special Agent Justin Van Tromp filed a criminal

complaint [ECF 1] against Mr. Toebbe alleging violations of 42 U.S.C. § 2274(a).

       2.      Mr. Toebbe was arrested on October 9, 2021. A motion to detain [ECF 9] him was

filed on October 11, 2021.

       3.      Mr. Toebbe made his initial appearance before Magistrate Judge Robert W. Trumble

on October 12, 2021. At that time, Magistrate Judge Trumble temporarily detained Mr. Toebbe

pending a detention hearing [ECF 17]. The Court set that detention hearing for Friday, October 15,

2021, at 11 a.m. The Court also set a preliminary hearing on the criminal complaint for

Wednesday, October 20, 2021, at 1 p.m. [ECF 16]. Undersigned counsel was also appointed to

represent Mr. Toebbe that same day [ECF 21].


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          4.   Given the nature of the charges in this case, and after having met with Mr. Toebbe,

Counsel believes that additional time is necessary to prepare for the detention hearing in this

matter.

          5.   Counsel and the Defendant specifically request that the Court reset the detention

hearing in this matter for Wednesday, October 15, 2021, at 1 p.m., to coincide with the Defendant’s

currently scheduled preliminary hearing.



                                               Respectfully submitted,

                                               JONATHAN TOEBBE
                                               By Counsel



s/ Nicholas J. Compton
Nicholas J. Compton
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                              CERTIFICATION OF SERVICE

       I hereby certify that on October 14, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

following:

                                  Jarod J. Douglas, AUSA
                                   U.S. Attorney’s Office
                                       P.O. Box 591
                                   Wheeling, WV 26003



       s/ Nicholas J. Compton
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